      Case: 1:24-cv-02939 Document #: 94 Filed: 06/15/24 Page 1 of 4 PageID #:1837




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 HONG KONG LEYUZHEN TECHNOLOGY
 CO. LIMITED,
                                                    Case No.: 1:24-cv-02939-MFK-BWJ
                     Plaintiff,
                                                    Honorable Matthew F. Kennelly
 v.
                                                    Magistrate Beth W. Jantz
 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE “A” HERETO,

                     Defendants.


        MOTION FOR LEAVE TO AMEND SCHEDULE A TO THE COMPLAINT
                              INSTANTER

         Pursuant to Fed. R. Civ. P. 15(A)(2) Plaintiff Hong Kong Leyuzhen Technology Co.

Limited (“Plaintiff”), files this Motion requesting leave to file an Amended Schedule A to the

Complaint, to dismiss the following defendants from this action, who have resolved all underlying

claims with Plaintiff:

      Defendant Schedule A Number                           Defendant Name

                    8                     Flamingals iPhoenix shop

                    12                    Generic ZTY66

                    13                    Generic Jerem(✈7-16 Days Delivery✈)

                    15                    hlysgo women clothes clearance sale

                    24                    Oplxuo


                                               1
 MOTION FOR LEAVE TO AMEND                               Case No. 1:24-cv-02939-MFK-BWJ
 SCHEDULE A
 Case: 1:24-cv-02939 Document #: 94 Filed: 06/15/24 Page 2 of 4 PageID #:1838




 Defendant Schedule A Number                       Defendant Name

              35                 UIFLQXX jiekeLongLONG

              41                 ZCVBOCZ ZCVBOCZ Lightning Deals of Today Prime

              43                 Ausyst

              46                 Finelylove Finelylove Online

              50                 Generic Konghyp manmaxiaowanzi

              52                 SKDOGDT

              54                 Generic YinheX sports

              55                 HGps8w Cambkatl

              59                 OSFVNOXV OSFVNOXV lightning deal

              65                 TDYHUAO NAIXIAFR

              79                 Generic xinzhanshengd

              81                 Generic UYISJ

              82                 Generic Leehonn

              92                 TANGNADE actorwidely

              97                 Angxiwan AMIMOJY

              99                 Dademeo Anruioo

             103                 FLITAY Glamour Women

             110                 GHAKKE fulinshop

             116                 LFEOOST oil-LIKIO-US（✈7-14 days delivery)

             118
                                 Mensch Mensch ✈5-15 Days Delivery✈
             127                 SDOHIG SDOHIG lightning deals of today prime

                                      2
MOTION FOR LEAVE TO AMEND                        Case No. 1:24-cv-02939-MFK-BWJ
SCHEDULE A
   Case: 1:24-cv-02939 Document #: 94 Filed: 06/15/24 Page 3 of 4 PageID #:1839




    Defendant Schedule A Number                             Defendant Name

                  132                    Greensen Theatly

                  133                    Mnyycxen

                  145                    PROMLINK

                  147                    YWEFSJ

                  154                    Thatrich shenzhenshichuangsanyeke

                  155                    5665 XUNRYAN

                  156                    ANDBXH Meet at Home

                  157                    EDCRF Gifts for Women---7-15 Days Deliverd

                  167                    Ruziyoog

                  169                    SHOPESSA



       Plaintiff specifically requests leave to file an Amended Schedule A that will reflect all

remaining Defendants in this action.

 DATED: June 15, 2024                       Respectfully submitted,
                                            By: /s/ Shawn A. Mangano
                                            Shawn A. Mangano (Bar No. 6299408)
                                            BAYRAMOGLU LAW OFFICES LLC
                                            1540 West Warm Springs Road Ste. 100
                                            Henderson, NV 89014
                                            Tel: (702) 462-5973 Fax: (702) 553-3404
                                            shawnmangano@bayramoglu-legal.com
                                            Attorney for Plaintiff




                                               3
 MOTION FOR LEAVE TO AMEND                              Case No. 1:24-cv-02939-MFK-BWJ
 SCHEDULE A
  Case: 1:24-cv-02939 Document #: 94 Filed: 06/15/24 Page 4 of 4 PageID #:1840




                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 15th day of June 2024, I electronically filed the foregoing

document with the clerk of the court for the U.S. District Court, Northern District of Illinois,

Eastern Division, using the electronic case filing system. The electronic case filing system sent

a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to

accept this Notice as service of this document by electronic means. Notice of this filing is

provided to unrepresented parties for whom contact information has been provided via email

and    by    posting     the    filing   on    a    URL      contained     on    our     website

http://blointernetenforcement.com, and distributed to ecommerce platform, Amazon.


                                                     By: /s/ Shawn A. Mangano
                                                     Shawn A. Mangano (Bar No. 6299408)
                                                     BAYRAMOGLU LAW OFFICES LLC
                                                     1540 West Warm Springs Road Ste. 100
                                                     Henderson, NV 89014
                                                     Tel: (702) 462-5973 Fax: (702) 553-3404
                                                     shawnmangano@bayramoglu-legal.com
                                                     Attorneys for Plaintiff




                                                4
MOTION FOR LEAVE TO AMEND                                 Case No. 1:24-cv-02939-MFK-BWJ
SCHEDULE A
